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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 PENNY EARLE,                        )
                                     )
                      Plaintiff,     )
                                     )                         Case No. 1:21-cv-5816
             vs.                     )
                                     )                         Judge Robert W. Dow, Jr.
 COMMUNITY LOAN SERVICING, LLC f/k/a )
 BAYVIEW LOAN SERVICING, LLC, M&M    )
 MORTGAGE SERVICES, INC., and JOHN   )
                                     )
 DOES 1-10,                          )
                                 Defendant.


       MOTION FOR LEAVE TO FILE AMENDED AFFIRMATIVE DEFENSES,
                              INSTANTER

       Defendant, M&M Mortgage Services, Inc. (“Defendant”), through its attorneys, Justin M.

Penn and Louis J. Manetti, Jr., moves pursuant to Rule 15 of the Federal Rules of Civil Procedure for

leave to file amended affirmative defenses to assert an additional third affirmative defense. In support

thereof, Defendant states as follows:

       1. On October 30, 2021, Plaintiff filed this action under the Illinois Consumer Fraud and

Deceptive Business Practices Act, common law trespass, the Fair Debt Collection Practices Act, and

common law intrusion upon seclusion violations, against Defendants.

       2. On January 18, 2022, Defendant filed its original answer and affirmative defenses to the

Complaint.

       3. Defendant believes it possesses sufficient facts to establish that Plaintiff gave consent to

secure the property.

       4. Consent is an affirmative defense to an invasion of privacy claim.




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        5. Rule 15(a) gives the court discretion to allow amendment to assert an affirmative defense,

and a court should do so freely when justice so requires. Chi. v. Loyola Univ. Med. Ctr., No. 10 C 6292,

2013 U.S. Dist. LEXIS 14418, at *8-9 (quoting Fed. R. Civ. P. 15(a)).

        6. This case is still at the pleading stage, and discovery has not yet closed. Thus, Plaintiff has

the ability to explore the merit of this defense and will not be prejudiced if this Court allows Defendant

to amend to raise the defense.

        7. The answer and defenses otherwise remain unchanged.

        WHEREFORE, Defendant, M&M Mortgage Services, Inc. respectfully requests that this

Court grant it leave to file the attached proposed answer and amended affirmative defenses to raise

the additional defense of consent.

                                                Respectfully submitted,

                                                M&M Mortgage Services, Inc.


                                             By: /s/Louis J. Manetti, Jr.
                                                One of defendant’s Attorneys
                                                Justin M. Penn
                                                Louis J. Manetti, Jr.
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                                CERTIFICATE OF SERVICE

        I, an attorney, hereby certify that on May 23, 2022, I caused to be electronically filed
Defendant's Motion for Leave to File Answer and Affirmative Defenses, Instanter with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to all counsel of
record.

                                           /s/Louis J. Manetti, Jr.
                                           Louis J. Manetti, Jr.




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